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 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:11-CR-0226 TLN

12                                Plaintiff,             STIPULATION AND ORDER
                                                         TO CONTINUE TRIAL CONFIRMATION
13                          v.                           HEARING

14   PATRICIA ALBRIGHT, and
     JORDAN ROBERT WIRTZ,
15
                                 Defendants.
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18          The parties in the above matter request that the trial confirmation hearing currently set for June
19 19, 2014, at 9:30 a.m., be continued to June 26, 2014, at 9:30 a.m.. On February 6, 2014, the Court

20 found that time was excluded under the Speedy Trial Act up to the currently scheduled trial date of July

21 28, 2014, for counsels’ preparation. The parties submit and stipulate that the ends of justice are served

22 by the Court continuing to exclude such time, so that counsel for the defendant may have reasonable

23 time necessary for effective preparation, taking into account the exercise of due diligence. 18 U.S.C.

24 § 3161(h)(7)(B)(iv) Local Code T4.

25 Dated: June 16, 2014                                      BENJAMIN B. WAGNER
                                                             United States Attorney
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      Stipulation and Order                              1
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 1
     Dated: June 16, 2014                                    /s/ Michael M. Beckwith
 2                                                           MICHAEL M. BECKWITH
                                                             Assistant United States Attorney
 3
                                                             /s/ Kelly Babineau
 4 Dated: June 16, 2014
                                                             KELLY BABINEAU
 5                                                           Attorney for defendant Patricia Jane Albright

 6 Dated: June 16, 2014                                      /s/ Scott N. Cameron
                                                             SCOTT N. CAMERON
 7                                                           Attorney for defendant Jordan Robert Wirtz
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 9
                                                  ORDER
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            UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered that the trial
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     confirmation hearing presently set for June 19, 2014, be continued to June 26, 2014, at 9:30 a.m. Time
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     is excluded as previously ordered through and including July 28, 2014. Based on the representation of
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     counsel and good cause appearing therefrom, the Court herby finds the ends of justice to be served by
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     granting a continuance outweigh the best interests of the public and the defendant in a speedy trial. 18
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     U.S.C. § 3161(h)(7)(B)(iv) Local Code T4.
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     Dated: June 19, 2014
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21                                             Troy L. Nunley
                                               United States District Judge
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      Stipulation and Order                              2
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